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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

IN RE: XARELTO (RIVAROXABAN)              *                   MDL 2592
PRODUCTS LIABILITY LITIGATION             *
                                          *                   SECTION L
THIS DOCUMENT RELATES TO:                 *
                                          *                   JUDGE ELDON E. FALLON
Joseph Orr, Jr., et al. v. Janssen et al. *                   MAG. JUDGE NORTH
Case No. 2:15-cv-03708                    *
                                          *
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   PLAINTIFFS’ MEMORANDUM IN SUPPORT OF MOTION IN LIMINE NO. 37
     TO PRECLUDE THE FALSE AND MISLEADING ARGUMENT THAT A
 PROTHROMBIN TIME (PT) TEST MUST BE SPECIFICALLY APPROVED BY THE
                    FDA FOR USE WITH XARELTO


I.      INTRODUCTION

        Plaintiff anticipates that Defendants, either through argument or testimony, will falsely

suggest that the universal PT test, available in community hospitals around the country, has not

been cleared or approved to evaluate the anticoagulation status of patients on Xarelto. Any such

testimony or argument is without factual or legal basis, and therefore is false, misleading and

prejudicial to Plaintiffs. Therefore, Plaintiffs move to prohibit Defendants from making such false

and misleading arguments at trial.

II.     STANDARD OF REVIEW

        Under Federal Rule of Evidence 402, only relevant evidence is admissible at trial.

Evidence is relevant if it tends to make a fact of consequence to the litigation more or less probable

than it would be without the evidence. Fed. R. Evid. 401. However, even relevant evidence can be

excluded “if its probative value is substantially outweighed by a danger of one or more of the
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following: unfair prejudice, confusing the issues, misleading the jury, undue delay, wasting time,

or needlessly presenting cumulative evidence.” Fed. R. Evid. 403.

         The trial court has broad discretion in assessing the probative value of evidence and

determining if it is significantly outweighed by the risk of undue prejudice. See Sprint v.

Mendelsohn, 552 U.S. 379, 384 (2009); Verzwyvelt v. St. Paul Fire & Marine Ins. Co., 175 F.

Supp. 2d 881, 888 (W.D. La. 2001), citing United States v Johnson, 558 F. 2d 744, 746 (5th Cir.

1977). A court should exclude relevant evidence if its probative value is substantially outweighed

by a danger of unfair prejudice. United States v. Duncan, 919 F. 2d 981, 987 (5th Cir. 1990), citing

Fed. R. Evid. 403.

III.     ARGUMENT

         The Prothrombin Time (PT) test is a routinely administered blood test that is used in

clinical laboratories to measure how long it takes a patient’s blood to clot. Like a radar gun that

measures the speed of an object while it moves (whether a baseball, a Buick or a Maserati), PT

measures blood-clotting time whether from the anticoagulant effect of a drug or an underlying

disease. Just as there are different manufacturers and models of radar guns, there are different

reagents on the market for PT testing. Each of these reagents are FDA approved, but once approved

for marketing there is no restriction on any laboratory to limit use of the reagent to the

measurement of PT limited to any specific anticoagulant. Accordingly, the current label of Xarelto

recognizes: “Neoplastin® prothrombin time (PT), activated partial thromboplastin time (aPTT)

and HepTest® are also prolonged dose-dependently.”1




1
 Seehttps://www.xarelto-us.com/shared/product/xarelto/prescribing-information.pdf?sitelink=
Full+Product+Information&utm_source=google&utm_medium=cpc&utm_campaign=
Branded+2016&utm_content=Misspellings&utm_term=xarelto&gclid=CJm24YqT69MCFUelNwodGvgBNw&gcls
rc=ds.

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            Notwithstanding any argument to the contrary by Defendants, the FDA does not approve

a generic lab test, like PT, to be used with one specific anticoagulant and not another. To argue or

suggest otherwise would be false and would mislead the jury. For example, the Pradaxa label

specifically mentions, another blood clotting test, Activated Partial Thromboplastin Time (aPTT)

to assess the anticoagulant activity in patients on Pradaxa.2 The Pradaxa label makes mention of a

specific aPTT reagent (Roche) and further states that other reagents might provide different results.

The Roche aPTT reagent referenced in the Pradaxa label was approved by the FDA pursuant to

the 510(k) process in 1999. That approval does not limit laboratories from using another reagent

to measure aPTT in Pradaxa patients; it just alerts laboratories and doctors to the possibility of

different results.

            The Roche aPTT, as with all aPTT reagents made by other commercial suppliers, was

approved as a test to evaluate clotting function and is therefore useful as a generalized screening

test for coagulation function. At the time of 510(k) clearance, the product was also noted to be

appropriate to use to monitor the effectiveness of heparin therapy. However, despite being

referenced in the Pradaxa label, and noted to be useful in assessing the anticoagulation status of

patients on Pradaxa, the test has never been specifically approved or cleared for use related to

Pradaxa measurement.3 Instead, it is a general test of coagulation status that has been found to be

particularly sensitive for Pradaxa, like the sensitivity that exists between Xarelto and various PT

reagents including Neoplastin.

            There is no statute or regulation that restricts the use of medical devices like laboratory

tests currently on the market from being used for anticoagulation measurement or screening so



2
    Pradaxa label at sections 2, 10 and 12.2.
3
    Exhibit 2 is the 510k Summary for the Roche aPTT.

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long as such use comports with device labeling. Here, the Neoplastin® PT reagent is FDA-

approved and commercially available throughout the United States. Labeling for Neoplastin® PT

explicitly states that it is intended for the “determination of the prothrombin time (PT),” explaining

that “[t]he prothrombin time is a coagulation screening test” that measures various coagulation

factors, including Factor X. Moreover, the Neoplastin® PT label does not limit its usage to a

specific drug, but recognizes that it is merely “commonly” used for monitoring warfarin.

            Xarelto has been shown to be capable of measurement by the PT test via several different

commercial reagents. Indeed, Defendants themselves relied on Neoplastin PT in their studies to

make reliable scientific findings about Xarelto concentrations. Only in this litigation have they

chosen to deny the scientific value of the measurement. It is disingenuous and factually inaccurate

for the Defendants to contend that they were prohibited from adding to their label additional

warnings by way of an instruction to physicians to measure PT in their Xarelto patients using the

Neoplastin PT because the test was not approved for use with Xarelto.4 Particularly instructive is

the fact that Sec. 5.2 of the Xarelto label mentions considering use of PCC products in patients

bleeding because of Xarelto use. The package insert and approved labeling for prothrombin

complex concentrates (commercial name "KCentra") has not been specifically approved by the

FDA for such use.

            Why would the Defendants include use of PCC (not specifically approved for use with

Xarelto) if it was illegal to so and would misbrand their drug? The answer, it is no more illegal to

include PCC than it is to include Neoplastin PT, which is also already in Section 12.2 of the

current Xarelto label. As the Defendants like to argue, their label was approved by the FDA, even

as to the so-called off-label use of Neoplastin PT or PCC. The presence of these provisions in the


4
    Wyeth v. Levine, 555 U.S. at 568, citing 21 CFR §§ 314.70(c)(6)(iii)(A), (C).

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current Xarelto label demonstrates the duplicity of Defendants’ argument. Defendants’ arguments

should be given no weight; nor should such falsehoods be permitted to be presented to the jury.

       For these reasons, Plaintiff requests that all parties and witnesses be precluded from

offering, or trying to offer the false and misleading argument that a PT reagent must be specifically

approved by the FDA for use with Xarelto.

Dated: May 12, 2017                                   Respectfully submitted,

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                                                      Plaintiffs’ Liaison Counsel




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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that on May 12 2017, the foregoing was filed

electronically with the Clerk of Court using the CM/ECF system. Notice of this filing will be sent

to Liaison Counsel for Plaintiffs and Defendants by operation of the court’s electronic filing

system and served on all other plaintiff counsel via MDL Centrality, which will send notice of

electronic filing in accordance with the procedures established in MDL 2592 pursuant to Pre- Trial

Order No. 17.


                                                    /s/ Leonard A. Davis
                                                    LEONARD A. DAVIS




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